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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

                                          )
DARAIUS DUBASH and                        )
                                          )
DR. FARAZ HARSINI,                        )
                                          )
Plaintiffs,                               )
                                          )
v.                                        )   CASE NO. 4:23-cv-03556
                                          )
CITY OF HOUSTON, TEXAS;                   )
HOUSTON DOWNTOWN PARK                     )
CORPORATION; OFFICER ROBERT               )
DOUGLAS (# 7943), in his individual       )
capacity; OFFICER VERN                    )
WHITWORTH (# 7595), in his                )
individual capacity; DISCOVERY            )
GREEN CONSERVANCY f/k/a                   )
HOUSTON DOWNTOWN PARK                     )
CONSERVANCY; and BARRY                    )
MANDEL, in his individual capacity,       )
                                          )
Defendants.

     [Proposed] ORDER EXTENDING DEADLINES FOR DISCOVERY AND
                        DISPOSITIVE MOTIONS

       The Court has considered the parties agreed motion to extend deadlines for

discovery and dispositive motions set in this Court’s scheduling order (ECF No. 38).

       Having fully considered the motion and for good cause shown, the Court grants

the motion.

       Thus, the Court ORDERS that the scheduling order is modified to reflect the

new deadlines for discovery and dispositive motions in the attached scheduling order.

All pre-trial and trial deadlines are unchanged.
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      This extension is without prejudice to the parties’ ability to request an

additional extension of deadlines if the partial stay in discovery (ECF No. 63) remains

in effect at the close of the current discovery deadline.



      SO ORDERED, this _____ day of June, 2024.




                                                ____________________________________
                                                Hon. Richard W. Bennett
                                                United States Magistrate Judge




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